 

 

IN THE CIRCUIT COURT OF MAURY COUNTY, TENNESSEE s
=)
WESLEY WILLIAMS and PHILLIP } oS
WILLIAMS, ) ;
) Docket No. | 1 |S 7
Plaintiffs, ) =z
) nS
v. ) =
) oO
REMOND CROOM and )
CRETE CARRIER CORPORATION, )
)
Defendants. )
COMPLAINT
Plaintiffs state:
1. Plaintiff Wesley Williams is a citizen and resident of Lawrence County, Tennessee.
2, Plaintiff Phillip Williams is a citizen and resident of Lawrence County, Tennessee.
3.

Defendant Remond Croom is a citizen and resident of Texas and may be served
with process at 5436 County Road 4604, Commerce, Texas 75428.

4. Defendant Crete Carrier Corporation is a Nebraska corporation, and may be served

with process through its registered agent Curtis Ruwe, 400 NW 56" Street, Lincoln, Nebraska
68528.

5. On December 8, 2020, Defendant Remond Croom was driving a semi-truck on

Oakwood Drive in Mount Pleasant, Maury County, Tennessee, towards the intersection with US
Highway 43 (hereafter “the intersection”).

6. At the same time, Plaintiff Wesley Williams was driving a vehicle on US Highway

43, towards the intersection.

EXHIBIT

 

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7. Plaintiff Phillip Williams was a passenger in the vehicle operated by Plaintiff
Wesley Williams.

8. Defendant Remond Croom drove into the intersection, blocking Plaintiff Wesley
Williams’ lane of travel and causing a collision.

9, Defendant Remond Croom is at fault for the collision.

10. | Defendant Remond Croom did not have the right of way as he entered the
intersection.

11. Plaintiff Wesley Williams had the right of way as he entered the intersection.

12. Defendant Remond Croom failed to yield the right of way to Plaintiff Wesley
Williams.

13. Defendant Remond Croom failed to obey traffic control signals, signs, or both.

14. | Defendant Remond Croom failed to maintain a proper lookout.

15. Defendant Remond Croom failed to pay proper attention.

16. | Defendant Remond Croom failed to keep the semi-truck he was operating under
proper control.

17. Defendant Remond Croom drove the semi-truck into the intersection in an attempt
to tum left when it was not safc to do so.

18. Defendant Remond Croom failed otherwise to use reasonable and due care in the
operation of the semi-truck he was driving so as to avoid injury to other persons using the roadway,
including Plaintiff Wesley Williams and passenger Plaintiff Phillip Williams.

19. Based on Defendant Remond Croom’s conduct described herein, Defendant

Remond Croom was negligent.

 

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20. Defendant Remond Croom violated Tenn. Code Ann. § 55-8-136 by failing to
exercise due care to avoid colliding with the vehicle Plaintiff Wesley Williams was operating, and
in which Plaintiff Phillip Williams was a passenger, by failing to maintain a safe lookout, by failing
to keep the semi-truck he was operating under proper control, and by failing to devote full time
and attention to operating the semi-truck he was driving, under the existing circumstances to avoid
endangering life, limb, or property.

21. Based on Defendant Remond Croom’s conduct described herein that violated any
of Tennessee’s statutory Rules of the Road, Defendant Remond Croom was negligent per se.

22. At ail times relevant to the matters alleged herein, Defendant Crete Carrier
Corporation, was the owner of the semi-truck that Defendant Remond Croom was operating at the
time of the collision.

23. At all times relevant to the matters alleged herein, the semi-truck that Defendant
Remond Croom was operating at the time of the collision was registered in the name of Defendant
Crete Carrier Corporation.

24. ~— Plaintiff Wesley Williams and passenger Plaintiff Phillip Williams invoke the
presumptions of Tenn. Code Ann. §§ 55-10-311 and 312.

25. At all times relevant to the matters alleged herein, Defendant Remond Croom was
driving the semi-truck with the permission of Defendant Crete Carrier Corporation.

26. At all times relevant to the matters alleged herein, Defendant Remond Croom was
an agent, employee, or both of Defendant Crete Carrier Corporation.

27. Atall times relevant to the matters alleged herein, Defendant Remond Croom was
acting in the course and scope of his agency, employment, or both on behalf of Defendant Crete

Carrier Corporation.

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28, At all times relevant to the matters alleged herein, Defendant Crete Carrier
Corporation, is vicariously responsible for the negligent acts, omissions, or both of Defendant
Remond Croom under the doctrine of respondeat superior.

29. At all times relevant to the matters alleged herein, Defendant Crete Carrier
Corporation, knew or reasonably should have known of Defendant Remond Croom’s propensity
(o operate semi-trucks in a negligent manner so as to create an unreasonable risk of harm to others.

30. Defendant Crete Carrier Corporation’s negligent entrustment of its semi-truck to
Defendant Remond Croom is the direct and proximate causc of the collision and Plaintiff Wesley
Williams’ and passenger Plaintiff Phillip Williams’ injuries and damages.

31. Plaintiff Wesley Williams has suffered injuries as a direct and proximate result of
the collision.

32. Plaintiff Wesley Williams has incurred medical bills and other expenses as a direct
and proximate result of the collision.

33. Plaintiff Wesley Williams has endured physical pain and mental suffering as a
direct and proximate result of the collision.

34. Plaintiff Wesley Williams has suffered loss of enjoyment of life as a direct and
proximate result of the collision,

35. Plaintiff Wesley Williams has suffered lost wages, loss of earning capacity, or other
out of pocket expenses, or some combination thereof, as a direct and proximate result of the
collision.

36. Plaintiff Phillip Williams has suffered injuries as a direct and proximate result of

the collision.

 

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37, Plaintiff Phillip Williams has incurred medical bills and other expenses as a direct
and proximate result of the collision.

38. Plaintiff Phillip Williams has endured physical pain and mental suffering as a direct
and proximate result of the collision.

39, Plaintiff Phillip Williams has suffered joss of enjoyment of life as a direct and
proximate result of the collision.

40. Plaintiff Phillip Williams has suffered lost wages, loss of earning capacity, or other
out of pocket expenses, or some combination thereof, as a direct and proximate result of the
collision.

41. Plaintiff Wesley Williams and passenger Plaintiff Phillip Williams seek to recover
all of their damages allowed under Tennessee law.

WHEREFORE, Plaintiff Wesley Williams and passenger Plaintiff Phillip Williams pray
for the following relief:

1. Judgments for compensatory damages against Defendant Remond Croom and
Defendant Crete Carrier Corporation, jointly and severally, in an amount to be determined by the

trier of fact, but in excess of $25,000:

2. An award of all discretionary costs and court costs; and
3. Such other and further relief as shall be deemed reasonable, just, and necessary.
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Respectfully submitted,

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R. Burke Keaty, II, BPR#027342
MorGAN & MORGAN — NASHVILLE, PLLC
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Nashville, Tennessee 37203
(615) 514-4205
bkeaty(@forthepeople.com
Attorney for Plaintiff

 

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WESLEY WILLIAMS & PHILLIP WILLIAMS Vs. REMOND CROOM & CRETE CARRIER CORPORATION

 

 

 

 

 

 

Served On: CRETE

 

You are hereby summoned to defend a civil action filed against you in Circuit Court, -Maury County, Tennessee. Your defense must be made within
thirty (30) days from the date this summons is served upon you, You are directed to file your defense with the clerk of the court and send a copy to
the plaintiff's attomey at the address listed below. If you fail to defend this action by the below date, judgment by default may be rendered against
you for the relief sought in "| 3 lal i

Issued: }2 2. 2| x
id ;

Atiomey for Plaintiff: Burke Kes

 

NOTICE OF PERSONAL PROPERTY EXEMPTION

TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The fist may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or gamishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on list.

 

 

 

Mail list to
CERTIFICATION (IF APPLICABLE)
I, Circuit Court Clerk of Maury County do certify this to be a true and correct copy of the original summons issued
in this case.
Date:

 

 

Clerk / Deputy Clerk
OFFICER’S RETURN: Please execute this summons and make your retum within ninety (90) days of issuance as provided by law.

 

 

I certify that I have served this summons together with the complaint as follows:

 

Date: By:
Please Print: Officer, Title

 

 

 

 

Agency Address Signature

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and retum that on I sent postage

prepaid, by registered retum receipt mail or certified retum receipt mail, a certified copy of the summons and a copy of the complaint in the above
styled case, to the defendant - On 1 received the return receipt, which had been signed by

 

on . The retum receipt is attached to this original summons to be filed by the Court Clerk.

 

Date:

 

Notary Public / Deputy Clerk (Comm. Expires )

 

 

Signature of Plaintiff Plaintiff's Attomey (or Person Authorized to Serve Process)
(Attach return receipt on back)

 

ADA: If you need assistance or accommodations because ofa disability, please call Sandy McLain, ADA Coordinator, at 931-375-1100.
Rev. 03/11

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Z| (t Cadi

Sek oon Clerk ¢

you for the relief sought in the ata, ‘

Issued: | 2 : a

Attorney for Plaintiff: Burke Kea

 

 

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written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or gamishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on list.

Maillistto §: in, Cler ircuit Court, 4] Publi lumbia, TN 38401

CERTIFICATION (IF APPLICABLE)

I, Circuit Court Clerk of Maury County do certify this to be a true and correct copy of the original summons issued

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Date:

 

Clerk / Deputy Clerk
OFFICER’S RETURN: Please execute this summons and make your retum within ninety (90) days of issuance as provided by law.

 

 

I certify that I have served this summons together with the complaint as follows:

 

Date: By:

 

 

Please Print: Officer, Title

 

 

Agency Address Signature

 

 

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